Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 1 of 28 PageID #: 1295




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION


   IN RE: CROP INPUTS ANTITRUST                     Case No. 4:21-md-02993-SEP
   LITIGATION
                                                    MDL No. 2993

   This Document Relates to:                        STIPULATION AND [PROPOSED]
                                                    ORDER REGARDING
  ALL CASES                                         ELECTRONICALLY STORED
                                                    INFORMATION


       This Stipulated Protocol and Order For Discovery Of Electronically Stored Information

and Paper Documents (“ESI Protocol Order”) shall govern the Parties in the above-captioned case

whether they currently are involved or become so in the future, and any related actions that may

later be consolidated with this case (collectively, the “Litigation”).

       1.      GENERAL PROVISIONS

               A.      Applicability:     This ESI Protocol will govern the production of all

                       documents and ESI, including all computer-generated information or data

                       of any kind, by the Parties. This Protocol governs all Parties to these

                       proceedings, whether they are currently involved or become so in the future.

                       All disclosures and productions made pursuant to this Protocol are subject

                       to the Stipulation for Protective Order entered, or to be entered, in this

                       matter.

               B.      Limitations & Non-Waiver: Pursuant to the terms of this ESI Protocol,

                       information regarding search process and ESI practices may be disclosed,

                       but compliance with this ESI Protocol does not constitute a waiver, by any

                       Party, of any objection to the production of particular ESI for any reason,
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 2 of 28 PageID #: 1296




                  including that it is irrelevant, undiscoverable, or otherwise inadmissible,

                  unduly burdensome or not reasonably accessible, or privileged, nor does it

                  constitute a waiver of any right to discovery by any Party. Nothing in this

                  ESI Protocol shall be construed to affect the discoverability of information

                  or the admissibility of discoverable information. Nor shall anything in this

                  ESI Protocol be construed to affect the authenticity of any document or

                  data. All objections to the discoverability, admissibility, authenticity,

                  confidentiality, or production of any documents and ESI are preserved and

                  may be asserted at any time.       For the avoidance of doubt, a Party’s

                  compliance with this ESI Protocol will not be interpreted to require

                  disclosure of information potentially protected by the attorney-client

                  privilege, the work product doctrine, or any other applicable privilege. All

                  Parties preserve all such privileges and protections, and all Parties reserve

                  the right to object to any such privileges and protections.

            C.    ESI Liaisons: Each Party will identify an e-discovery liaison who is and

                  will be knowledgeable about and responsible for discussing matters related

                  to its ESI. Any attorney representing a Party, including the e-discovery

                  liaison, may participate in meet-and-confer conferences, and it is not

                  required that the e-discovery liaison be present for the Parties to meet and

                  confer about matters involving ESI, however the Parties agree to work in

                  good faith to schedule e-discovery conferences when the e-discovery

                  liaisons are available to aid in resolving disputes involving ESI without

                  Court intervention.




                                            2
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 3 of 28 PageID #: 1297




            D.    Deadlines: References to schedules and deadlines in this ESI Protocol shall

                  comply with Federal Rule of Civil Procedure 6 with respect to computing

                  deadlines.

            E.    Definitions:

                  1.     Producing Party means a Party or Non-Party that gives testimony or

                         produces Discovery Material in this action.

                  2.     Requesting Party is the Party (or Parties) who served the discovery

                         requests pursuant to which a Producing Party produces Discovery

                         Material in this action.

                  3.     Discovery Material means all items or information, regardless of the

                         medium or manner in which it is generated, stored, or maintained,

                         that are produced or generated in disclosures or responses to

                         discovery in this matter, including, but not limited to, documents,

                         tangible things, depositions, deposition exhibits, interrogatory

                         responses, responses to requests for production of documents,

                         responses to subpoenas, and responses to requests for admissions.

            F.    Confidential Information: For the avoidance of doubt, nothing herein

                  shall contradict the Parties’ rights and obligations with respect to any

                  information designated as confidential under the forthcoming Protective

                  Order (Dkt. [X]).

            G.    Preservation: Each Party shall be responsible for taking reasonable and

                  proportional steps to preserve potentially relevant documents and ESI within

                  its possession, custody, or control. The Parties are not required to modify or




                                            3
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 4 of 28 PageID #: 1298




                  suspend, on a going forward basis, the procedures used by them in the

                  ordinary course of business to backup data and systems for disaster recovery

                  and similar purposes related to continuity of operations. The Parties have

                  not taken, and are not required to take, any such backup media out of

                  ordinary rotation. Pursuant to this Protocol, the Parties have no obligation to

                  preserve, collect or produce information or data sources such as the

                  following if they are not kept in the ordinary course of business:

                  1.      “Deleted,” “slack,” “fragmented,” or “unallocated” data on hard

                         drives;

                  2.     Random access memory (RAM) or other ephemeral data;

                  3.     Online access data such as temporary internet files, history, cache,

                         cookies, etc.;

                  4.     Data in metadata fields that are frequently updated automatically,

                         such as the “Date Accessed” value in Microsoft Windows operating

                         systems;

                  5.     Electronic data temporarily stored by laboratory equipment or

                         attached electronic equipment, provided that such data is not

                         ordinarily preserved as part of a laboratory report;

                  6.     Known junk files from the NIST list or unimportant data files;

                  7.     Network, server, or software application logs;

                  8.     Structural files not material to individual document contents (e.g.,

                         CSS, .XSL, .XML, .DTD, etc.);

                  9.     System files and files not actively saved by user; and




                                            4
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 5 of 28 PageID #: 1299




                  10.    Automated emails not generated by a human author, including but

                         not limited to automated out of office replies.

      2.    GENERAL PRODUCTION FORMAT PROTOCOLS

            A.    TIFFs: Except as set forth elsewhere in this protocol, all production images

                  will be provided as single-page Group IV Tagged Image File Format (.TIF

                  or .TIFF) files at 300 x 300 dpi resolution and 8.5 x 11 inch page size,

                  unless a document requires a higher resolution in order to be appropriately

                  viewed. Documents that are difficult to render in TIFF because of technical

                  issues, or any other documents that are impracticable to render in TIFF

                  format, may be produced in their native format with a placeholder TIFF

                  image stating “Document Produced Natively.” A producing Party retains

                  the option to produce ESI in alternative formats if so agreed by the

                  requesting Party, which may include native format, or a combination of

                  native and TIFF formats.

            B.    Text Files: A searchable, document-level text file shall be provided for each

                  paper document or ESI file produced as TIFF images or in native format.

                  Each such file will have a filename matching the Bates number applied to

                  the first page of the corresponding static image file or placeholder file,

                  followed by the .TXT extension.       For ESI, the Parties agree that the

                  searchable, document-level text file shall be extracted directly from the

                  native file. For ESI from which text cannot be extracted, for redacted

                  documents, or for paper documents, the Parties agree that they will produce

                  document-level OCR text for each such document.              To the extent




                                             5
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 6 of 28 PageID #: 1300




                  practicable, the Parties will consider producing searchable text in ANSI

                  format.

            C.    Production of Native Items: The Parties agree that ESI shall be produced

                  as TIFF images consistent with the format described in Section 2(A) with

                  an accompanying load file. The exception to this rule shall be spreadsheet-

                  application files (e.g., MS Excel), presentation files (e.g., MS PowerPoint),

                  personal databases (e.g., MS Access), and multimedia audio/visual files

                  such as voice and video recordings (e.g., .wav, .mpeg, and .avi). Other files

                  with hidden content, tracked changes, comments, notes, or other similar

                  information may be produced as TIFF images with such information shown

                  or as native items. The Parties may discuss additional production in native

                  format on a document by document or category by category basis. Any

                  documents produced in native format should be produced in accordance

                  with the following specifications:

                  1.        A unique document number shall be used as the file name, and the

                            original file name and file extension shall be preserved in the

                            corresponding metadata load file.

                  2.        For each produced native file, the Producing Party will provide a

                            static image slipsheet indicating that the document was produced in

                            native format and providing the unique Bates number and

                            confidentiality designation for the corresponding native file. Any

                            confidentiality designation will also be provided in the




                                             6
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 7 of 28 PageID #: 1301




                        corresponding load file and appended to the unique document

                        number used as the file name for the produced native document.

                  3.    If a document produced in native format is used at a trial or other

                        proceeding (such as at a deposition), the slipsheet created for

                        subsection b above (containing the unique Bates number and

                        confidentiality designation) must be attached to the front of the

                        document.

                  4.    If a document that otherwise would be produced in native format

                        requires redaction, such documents may be produced in TIFF format

                        in accordance with this Protocol, or as a redacted native file.

                  5.    For each document produced in native format, the Producing Party

                        will provide all non-privileged metadata contained in the field

                        identified in Exhibit B.

                  6.    File Naming Convention for Native Format: If production is made

                        in native format, a unique document number shall be used as the file

                        name and the original file name and file extension shall be preserved

                        in the corresponding load file. An example of this convention would

                        be:       “ABC0000001-CONFIDENTIAL            –    SUBJECT        TO

                        PROTECTIVE ORDER IN CROP INPUTS, MDL NO. 2993.doc”.

                        If a printed version of a natively produced document is used in this

                        litigation as an exhibit at a deposition, a hearing, at trial, or in a

                        filing:




                                          7
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 8 of 28 PageID #: 1302




                         a.     OPTION 1: the placeholder slipsheet should be attached as

                                a coversheet for authentication purposes.

                         b.     OPTION 2: the printed pages shall bear the Bates number of

                                the original native format file, as appended to include the

                                page number within a four-digit range (e.g. ABC0000001-

                                0001, ABC0000001-0002, etc.) and shall bear the

                                designated confidentiality designation for the document

                                consistent with Section 5 of the Protective Order (e.g.,

                                “CONFIDENTIAL          –   SUBJECT       TO    PROTECTIVE

                                ORDER IN CROP INPUTS, MDL NO. 2993”)

            D.    Requests for Other Native Files: Other than as specifically set forth

                  above, a producing Party need not produce documents in native format. If

                  a Party would like a particular document produced in native format and this

                  ESI Protocol does not require the production of that document in its native

                  format, the Party making such a request shall explain the reason for its

                  request that the document be produced in its native format. The requesting

                  Party will provide a specific Bates range for documents it wishes to be

                  produced in native format.

            E.    Bates Numbering:

                  1.     All images must be assigned a Bates number that must always: (1)

                         be unique across the entire document production; (2) maintain a

                         constant prefix and length (ten-digits and 0-padded) across the entire

                         production; (3) contain no special characters or embedded spaces;




                                           8
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 9 of 28 PageID #: 1303




                         (4) be sequential within a given document; and (5) identify the

                         producing Party.

                  2.     The producing Party will brand all TIFF images in the lower right-

                         hand corner of the page but shall not obliterate or obscure any part

                         of the underlying images.

            F.    Parent Child Relationships: Parent-child relationships (the association

                  between an attachment and its parent document) that have been maintained

                  in the ordinary course of business should be preserved to the extent

                  reasonably practicable. DISPUTED PROVISION

            G.    Hyperlinks: DISPUTED PROVISION

            H.    Entire Document Families: DISPUTED PROVISION

            I.    Load Files: All production items will be provided with a delimited data

                  file or “load file,” which will include both an image cross-reference load

                  file (such as an Opticon file) and a metadata (.dat) file with the metadata

                  fields identified below on the document level to the extent available. The

                  load file must reference each TIFF in the corresponding production. The

                  total number of documents referenced in a production’s data load file should

                  match the total number of designated document breaks in the image load

                  files in the production.

            J.    Color: Documents or ESI containing color need not be produced initially

                  in color. However, if an original document or ESI item contains color

                  markings and it is necessary to see those markings in their original color to

                  understand the meaning or content of the document, then the requesting




                                             9
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 10 of 28 PageID #: 1304




                   Party may, in good faith, request that the document or ESI item be produced

                   in its original colors. For such documents, the requesting Party shall

                   provide a list of Bates numbers of the imaged documents sought to be

                   produced in color. The production of documents and/or ESI in color shall

                   be made in single-page JPEG format (300 DPI). All requirements for

                   productions stated in this ESI Protocol regarding productions in TIFF

                   format apply to any productions of documents and/or ESI in color made in

                   such an alternative format. Requests that a document be produced in color

                   for the reasons set forth in this Section will not be unreasonably denied by

                   the producing Party. If a producing Party wishes to object, it may do so by

                   responding in writing and setting forth its objection(s) to the production of

                   the requested document in color.

             K.    Confidentiality Designations: If a particular paper document or ESI item

                   qualifies for confidential treatment pursuant to the terms of the Protective

                   Order entered by the Court in the Litigation, or to any applicable federal,

                   state, or common law (e.g., Personally Identifiable Information or Protected

                   Health Information), the designation shall be branded on the lower left-hand

                   corner of the page as set forth in the Stipulation for Protective Order. The

                   Parties shall use reasonable measures to ensure that any such branding

                   does not obscure any part of the underlying image. No additional branding

                   or designation made in reference to the document request to which a

                   document may be responsive is required. Failure to comply with the

                   procedures set forth in this ESI Protocol, any protective order or




                                            10
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 11 of 28 PageID #: 1305




                   confidentiality order, or any confidential stipulation shall not waive any

                   protection or confidential treatment.

             L.    Redactions: DISPUTED PROVISION

             M.    Production Media & Protocol:            A producing Party may produce

                   documents via readily accessible computer or electronic media, including

                   CD-ROM, DVD, or external hard drive (with standard PC compatible

                   interface) (“Production Media”), or via file-sharing service, including any

                   network-based secure file transfer mechanism or Secure File Transfer

                   Protocol. Any requesting Party that is unable to resolve any technical issues

                   with the electronic production method used for a particular production may

                   request that a producing Party provide a copy of that production using

                   Production Media.

                   The producing Party may encrypt Production Media, and will provide a

                   decryption key to the requesting Party in a communication separate from

                   the production itself. If used, each piece of Production Media must be

                   assigned a production number or other unique identifying label

                   corresponding to the date of the production of documents on the Production

                   Media, as well as the sequence of material in that production. For example,

                   if the production comprises document images on three DVDs, the producing

                   Party may label each DVD in the following manner: “[Party] Production

                   January 1, 2020-001,” “[Party] Production January 1, 2020-002,” and

                   “[Party] Production January 1, 2020-003.”




                                            11
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 12 of 28 PageID #: 1306




                   Each production should include a transmittal letter that includes (1) the

                   production date, (2) the Bates range of the materials included in the

                   production, and (3) a brief description of the production.

       3.    PAPER DOCUMENT PRODUCTION PROTOCOLS

             A.    Production: A producing Party may make paper documents available for

                   inspection and copying in accordance with Federal Rule of Civil Procedure

                   34 or, additionally or alternatively, scan and OCR paper documents. The

                   Parties agree that to the extent that the Producing Party elects to produce

                   hard copy documents in electronic format, such documents will be produced

                   as single page Group IV Tagged Image File Format (.TIF or .TIFF) files

                   as described above. The Parties agree that the Producing Party also produce

                   searchable optical character recognition (“OCR”) text of scanned paper

                   documents consistent with the specifications for Searchable Text set forth

                   above.

             B.    Scanning: In scanning paper documents, distinct documents should not be

                   merged into a single record, and single documents should not be merged

                   into compound records (i.e., paper documents should be logically unitized).

                   In the case of an organized compilation of separate documents—for

                   example, a binder containing several separate documents behind numbered

                   tabs—the document behind each tab should be scanned separately, but the

                   relationship among the documents in the compilation should be reflected in

                   the proper coding of the beginning and ending document and attachment

                   fields.   The Parties shall use reasonable efforts to unitize documents




                                            12
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 13 of 28 PageID #: 1307




                   correctly, and will commit to address situations where there are improperly

                   unitized documents.

             C.    File Folders and/or Documents Affixed to Hard Copies: The           Parties

                   agree that any file folders and/or documents affixed to hard copy

                   documents will be scanned as separate documents.

             D.    Load File: The Parties agree to provide the appropriate load/unitization

                   files in accordance with attached Exhibit A and consistent with the

                   specifications for such files set forth in Section 2.H, above.

       4.    ESI METADATA FORMAT AND PROCESSING ISSUES

             A.    Files Not Amenable To Conversion: If the Producing Party identifies file

                   types that are not amenable to conversion into TIFF images and which may

                   not be easily produced in native file format, the Producing Party shall

                   inform the Requesting Party and the Parties will meet and confer. If

                   necessary to prevent the delay of a production while the meet and confer

                   process is taking place, any such non-convertible files may be temporarily

                   produced in the form of a placeholder TIFF image.

             B.    System Files: ESI productions may be de-NISTed using the industry

                   standard list of such files maintained in the National Software Reference

                   Library by the National Institute of Standards & Technology as it exists at

                   the time of de-NISTing. Other file types may be added to the list of

                   excluded files if they clearly do not have user-created content and by

                   agreement of the Parties.




                                               13
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 14 of 28 PageID #: 1308




             C.    Metadata Fields and Processing:

                   1.    Date and Time: No party shall modify the date or time as contained

                         in any original ESI.

                   2.    Time Zone: DISPUTED PROVISION

                   3.    Auto Date/Time Stamps: When processing ESI for production as

                         a static image, the Parties agree that “Auto Date” be forced off, and

                         “hidden columns or rows”, “hidden worksheets”, “speaker notes”,

                         “track changes”, “comments” and other similar information

                         viewable in the native file be forced on such that the information is

                         preserved to the extent practical and appears on the produced image

                         file.

                   4.    Metadata Fields: Except as otherwise set forth in this ESI Protocol,

                         ESI files shall be produced with at least each of the data fields set

                         forth in Exhibit B that can reasonably be extracted from a document.

                         The Parties are not obligated to manually populate any fields in

                         Exhibit B that cannot be extracted from the document using

                         automated processes with the exception of Custodian, BegBates,

                         EndBates, BeginAttach, EndAttach, Confidentiality, and Redacted.

             D.    Email Collection and Processing:

                   1.    Email Threading: DISPUTED PROVISION

                   2.    Email Domains: Producing Parties may utilize an ESI search

                         process to identify categories of documents, such as emails from

                         domains typically associated with junk email, such as fantasy




                                          14
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 15 of 28 PageID #: 1309




                          football-related emails, retailer advertising, and newsletters or alerts

                          from non-industry sources. To the extent a Party opts to exclude

                          uniquely identifiable email domain names (e.g., emails from

                          domains typically associated with junk or irrelevant topics like

                          sports, fantasy team competitions, retailer advertising, and

                          newsletters or alerts from non-industry sources) as part of its initial

                          filter of potentially responsive documents, the Parties agree to

                          disclose domain names excluded under this paragraph and to meet

                          and confer on the timing for such disclosures.


             E.    De-duplication: The Parties shall make reasonable efforts to deduplicate

                   ESI. Parties may deduplicate stand-alone documents or entire document

                   families vertically within each custodian or horizontally (also referred to

                   as globally) across custodians. ESI will be considered duplicative if it has

                   matching MD5 or SHA-1 hash values. Documents with the same content

                   but different metadata can also be identified through the use of near-

                   duplication technology, provided that only documents identified by such

                   technology as 100% near-duplicates shall be considered duplicates for

                   purposes of this paragraph. When comparing document families, if a

                   parent document is an exact duplicate but one or more attachments or

                   embedded files are not exact duplicates, neither the attachments nor

                   embedded files, nor the parent document, will be deduplicated.

                   Attachments to emails shall not be eliminated from their parent emails by

                   deduplication. A list of all custodians who were in possession of the



                                            15
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 16 of 28 PageID #: 1310




                   document, including those whose copy of the document was removed

                   during deduplication, should be placed in the

                   “DUPLICATE_CUSTODIAN” field, with each entry separated by a semi-

                   colon (;) character, as set forth in Exhibit B.

             F.    Zero-byte Files: The Parties may, but are not required to, filter out stand-

                   alone files identified as zero-bytes in size that do not contain responsive file

                   links or file names. If the requesting Party in good faith believes that a zero-

                   byte file was withheld from production and contains information responsive

                   to a request for production, the requesting Party may request that the

                   producing Party produce the zero-byte file. The requesting Party may

                   provide a Bates number to the producing Party of any document that

                   suggests a zero-byte file was withheld from production and contains

                   information responsive to a request for production.

             G.    Hidden Text: ESI items shall be processed, to the extent practicable, in a

                   manner that preserves hidden columns or rows, hidden text, worksheets,

                   speaker notes, tracked changes, and comments.

             H.    Embedded Objects: Embedded Objects in an ESI file are to be extracted

                   or suppressed at processing. Some file types may contain embedded objects,

                   typically found in the following productivity types: MS Excel, MS Word,

                   MS PowerPoint, MS Project, MS Outlook, MS Access, as well as Adobe

                   Acrobat (PDF). The parties may address objects embedded within these

                   files in one of two ways: (1) by extracting such embedded files as separate

                   files and producing them as attachments to the file in which they were




                                             16
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 17 of 28 PageID #: 1311




                   embedded if the file in which these objects are embedded is produced, with

                   the exception of image files (JPG, PNG) embedded in email signature

                   blocks, or (2) by suppressing such embedded files if they are of a type

                   identified in Section 1(G)(6)-(9).

             I.    Compressed Files: Compressed file types (i.e., .CAB, .GZ, .TAR. .Z, .ZIP)

                   shall be decompressed in a reiterative manner to ensure any compressed file

                   within a compressed file is decompressed into the lowest possible

                   compressing resulting in individual files.

             J.    Password-Protected, Encrypted, or Proprietary-Software Files:

                   DISPUTED PROVISION

             K.    Enterprise or Relational Databases: DISPUTED PROVISION

             L.    Format of Prior-Production Documents: If documents produced for

                   litigation or other court or regulatory matter outside of this matter are

                   discoverable, such documents may be produced to the Requesting Party in

                   this matter in the production format from the prior production. The

                   Requesting Party may thereafter request a meet and confer regarding the

                   form, content, or adequacy of any such production including this provision.

             M.    Language: A hard-copy document or ESI that contains a natural language

                   other than English, in whole or in part, shall be produced in the original

                   language. A Producing Party is under no obligation to prepare English

                   translations of non-English language documents or ESI.




                                             17
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 18 of 28 PageID #: 1312




       5.    DOCUMENT SOURCE SCOPE AND DISCLOSURE PARAMETERS

             A.    Time Period: The Parties agree that ultimately they will be able to limit the

                   processing of discoverable information to that which was created, modified,

                   sent, or received during a particular time period. However, if the Parties

                   cannot agree on what that time period will be, they will raise the issue with

                   the Court.

             B.    DISPUTED PROVISION

       6.    PARAMETERS FOR CULLING OF PAPER AND ESI DOCUMENTS

             A.    DISPUTED PROVISION

       7.    CLAIMS OF PRIVILEGE AND REDACTIONS

             A.    Production of Privilege Logs: For all responsive documents withheld in

                   their entirety for privilege, the Producing Party will produce a privilege log

                   explaining the documents withheld. The privilege log will be produced in

                   MS Excel format or any other format that permits electronic sorting and

                   searching.

             B.    Exclusions from Logging Potentially Privileged Documents:                The

                   following categories of documents do not need to be contained on a

                   producing Party’s privilege log, unless good cause exists to require that a

                   Party do so.

                   1.     Information generated before the beginning of the relevant

                          discovery period agreed to by the Parties or ordered by the Court.

                          While reserving all rights with respect to the relevant time period

                          for discovery, the Parties agree that information generated after




                                            18
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 19 of 28 PageID #: 1313




                          January 8, 2021, also need not be logged. This provision does not

                          apply to non-Parties to the Litigation.

                   2.     Any communications exclusively between a producing Party and its

                          outside counsel, an agent of outside counsel other than the Party,

                          any non-testifying experts in connection with specific litigation, or,

                          with respect to information protected by Federal Rule of Civil

                          Procedure 26(b)(4), testifying experts in connection with specific

                          litigation.

                   3.     Any privileged materials or work product created by or specifically

                          at the direction of a Party’s outside counsel, an agent of outside

                          counsel other than the Party, any non-testifying experts in

                          connection with specific litigation, or, with respect to information

                          protected by Federal Rule of Civil Procedure 26(b)(4), testifying

                          experts in connection with specific litigation.

                   Duplicative emails need not be reflected on the Party’s privilege log. When

                   there is a chain of privileged emails, and the senders and recipients do not

                   change during email chain, the Producing Party need only include one entry

                   on the privilege log for the entire email chain, and need not log each email

                   message contained in the chain separately.

             C.    Privilege Log Requirements:

                   1.     Metadata Log: To the extent applicable, each Party’s privilege log

                          only needs to provide objective metadata (to the extent it is

                          reasonably available and does not reflect protected information) and




                                            19
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 20 of 28 PageID #: 1314




                         an indication of the privilege being asserted or type of private

                         personal information being protected.

                            a.        Objective metadata includes the following:

                                 i.      A unique privilege log identifier

                              ii.        CUSTODIAN

                             iii.        DUPLICATE_CUSTODIAN

                             iv.         FILENAME

                                 v.      SUBJECT

                             vi.         AUTHOR

                             vii.        FROM

                            viii.        TO

                             ix.         CC

                                 x.      BCC

                             xi.         DATESENT

                             xii.        DATERCVD

                            xiii.        CREATEDATE

                   2.    Attorney or Description of Privileged Material: DISPUTED

                         PROVISION

                   3.    Email Chains: DISPUTED PROVISION

                   4.    Redaction of Metadata: The Parties reserve the right to redact or

                         otherwise modify the SUBJECT, FILENAME, and FILEPATH

                         field to avoid disclosing privileged information, so long as the

                         redacted or modified entries are clearly identified and the




                                            20
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 21 of 28 PageID #: 1315




                          information provided is sufficient to allow the other Party to assess

                          the basis for the asserted privilege(s).

                   5.     Manually Populating Certain Metadata: Further, a Party must

                          manually populate on its privilege log an author and date for any

                          withheld document where that information is not provided by the

                          objective metadata, unless such information is not reasonably

                          discernable from the document or the information is not necessary

                          to evaluate the claim of privilege in light of the metadata that is

                          discernable      and/or   the    information    provided     in      the

                          Attorney/Description of Privileged Material field.

                   6.     Privilege Redactions: DISPUTED PROVISION

             D.    Challenges to Privilege Claims:             Following the receipt of a

                   privilege/redaction log, a requesting Party may identify, in writing (by

                   Bates/unique identification number), the particular documents that it

                   believes require further explanation. The producing Party shall endeavor to

                   respond to such a request within 14 days. If a Party challenges a request for

                   further information, the Parties shall meet and confer to try to reach a

                   mutually agreeable solution. If they cannot agree, the matter may be

                   brought to the Court.

       8.    MISCELLANEOUS PROVISIONS


             A.    Inaccessible ESI: If a Producing Party asserts that certain categories of

                   ESI that are reasonably likely to contain responsive information are

                   inaccessible or otherwise unnecessary under the circumstances, or if the



                                             21
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 22 of 28 PageID #: 1316




                   Requesting Party asserts that, following production, certain ESI is not

                   reasonably usable, the Parties shall meet and confer to discuss resolving

                   such assertions. If the Parties cannot resolve any such disputes after such a

                   meet and confer has taken place, the issue may be presented to the Court

                   for resolution.

             B.    Variations or Modifications: Variations from this ESI Protocol may be

                   required. Any practice or procedure set forth herein may be varied by

                   agreement of all affected Plaintiffs and all affected Defendants, with

                   reasonable notice to and consultation of any other Party to this Litigation,

                   which will be confirmed in writing.       In the event a producing Party

                   determines that a variation or modification is appropriate or necessary to

                   facilitate the timely and economical production of documents or ESI, the

                   producing Party will notify the requesting Party of the variation or

                   modification. Upon request by the requesting Party, those Parties will meet

                   and confer to address any issues in a reasonable and timely manner prior to

                   seeking Court intervention.




                                            22
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 23 of 28 PageID #: 1317




 IT IS SO STIPULATED, through Counsel of Record.

  /s/ Michelle J. Looby                        /s/ W. Joseph Bruckner (w/consent)
  GUSTAFSON GLUEK PLLC                         LOCKRIDGE GRINDAL NAUEN
  Daniel E. Gustafson (202241 MN)              P.L.L.P.
  Michelle J. Looby (0388166 MN)               W. Joseph Bruckner (0147758 MN)
  Daniel C. Hedlund (258337 MN)                Rebecca A. Peterson (241858 MN)
  Daniel J. Nordin (0392393 MN)                Robert K. Shelquist (21310x MN)
  Canadian Pacific Plaza                       Brian D. Clark (0390060 MN)
  120 South Sixth Street, Suite 2600           100 Washington Avenue So., Suite 2200
  Minneapolis, MN 55402                        Minneapolis, MN 55401
  Telephone: (612) 333-8844                    Telephone: (612) 339-6900
  dgustafson@gustafsongluek.com                Facsimile: (612) 339-0981
  mlooby@gustafsongluek.com                    wjbruckner@locklaw.com
  dhedlund@gustafsongluek.com                  rapeterson@locklaw.com
  dnordin@gustafsongluek.com                   rkshelquist@locklaw.com
                                               bdclark@locklaw.com

  /s/ Sterling Aldridge (w/consent)            /s/ Derek Y. Brandt (w/consent)
  BARRETT LAW GROUP, P.A.                      McCUNE WRIGHT AREVALO, LLP
  John W. “Don” Barrett (2063 MS)              Derek Y. Brandt (6228895IL)
  Sterling Aldridge (104277 MS)                Leigh M. Perica (6316856IL)
  Katherine Barrett Riley (99109 MS)           Connor P. Lemire (704702MA)
  David McMullan, Jr. (8494 MS)                231 N. Main Street, Suite 20
  P.O. Box 927                                 Edwardsville, IL 62025
  404 Court Square North                       Telephone: (618) 307-6116
  Lexington, MS 39095                          dyb@mccunewright.com
  Telephone: (662) 834-2488                    lmp@mccunewright.com
  Facsimile: (662) 834-2628                    cpl@mccunewright.com
  dbarrett@barrettlawgroup.com
  saldridge@barrettlawgroup.com                Plaintiffs’ Liaison Counsel
  kbriley@barrettlawgroup.com
  dmcmullan@barrettlawgroup.com

  Plaintiffs’ Interim Co-Lead Class Counsel




                                              23
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 24 of 28 PageID #: 1318




  /s/ Sharon B. Rosenberg (w/consent)
  THOMPSON COBURN LLP
  Sharon B. Rosenberg
  One US Bank Plaza
  St. Louis, MO 63101
  Telephone: (314) 552-6000
  srosenberg@thompsoncoburn.com

  Counsel for Defendants Bayer CropScience
  LP and Bayer CropScience Inc. and as
  Defendants’ Liaison Counsel




                                             24
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 25 of 28 PageID #: 1319




                                         EXHIBIT A

            Fields for Production of Paper Documents Converted to Static Images

 Note: The chart below describes the fields to be produced with the Load / Unitization Files in

 generic, commonly used terms. Field names may vary from the below.

   Field                      Definition
   CUSTODIAN                  Name of person from whose files the document is produced

   BEGBATES                   Beginning Bates Number (production number)
   ENDBATES                   End Bates Number (production number)

   BEGATTACH                  First Bates number of family range (i.e., Bates number of the
                              first page)

   ENDATTACH                  Last Bates number of family range (i.e., Bates number of the
                              last page of the last attachment)

   PGCOUNT                    Number of pages in the document
   TEXTPATH                   File path for OCR or Extracted Text files




                                               25
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 26 of 28 PageID #: 1320




                                           EXHIBIT B

                                 Fields for Production of ESI

  Note: The chart below describes the fields to be produced with the Load / Unitization Files in

  generic, commonly used terms. Field names may vary from the below.

   Field                             Doc      Definition
   CUSTODIAN                         All      Name of person from whose files the document is
                                              produced

   DUPLICATE_CUSTODIAN               All      Custodian, plus any additional Custodian(s) who
                                              had a duplicate copy removed during global
                                              deduplication (with each Custodian separated by a
                                              semicolon (;) character)


   BEGBATES                          All      Beginning Bates Number (production number)


   ENDBATES                          All      End Bates Number (production number)
   BEGATTACH                         All      First Bates number of family range (i.e., Bates
                                              number of the first page)
   ENDATTACH                         All      Last Bates number of family range (i.e., Bates
                                              number of the last page of the last attachment)


   PGCOUNT                           All      Number of pages in the document
   FILETYPE/APPLICATION              All      Application used to create document


   FILEEXT                           All      File extension of the native file (e.g., XLS, DOC,
                                              PDF)
   FILEPATH                          eDocs    File source path for all electronically collected
                                              documents, which includes location, folder name


   FILENAME                          eDocs    File name of the original electronically collected
                                              documents
   DOCTYPE                           All      Descriptive field created by the vendor processing
                                              software (e.g. email, edoc, image, attachment)




                                               26
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 27 of 28 PageID #: 1321




   HASHVALUE                   All     MD5 Hash or SHA Value created during
                                       processing
   FROM                        eMail   Sender of email

   TO                          eMail   Recipient of email
   CC                          eMail   Additional Recipients of email
   BCC                         eMail   Blind Additional Recipients of email
   SUBJECT                     eMail   Subject line of email
   DATESENT                    eMail   Date and time sent


   DATERCVD                    eMail   Date and time received

   TITLE                       eDoc    Title field value extracted from the metadata of the
                                       native file.

   AUTHOR                      eDoc    Creator of a document
   LASTAUTHOR                  eDoc    Last Saved By field contained in the metadata of
                                       the native file
   CONFIDENTIALITY             ALL     Confidentiality designation for documents produced
                                       in native format
   REDACTED                    All     Should be populated if a document contains a
                                       redaction
   NATIVEFILELINK              All     For documents provided in native format
   TEXTPATH                    All     File path for OCR or Extracted Text files
   CREATEDATE                  eDoc    Date created

   LASTMODIFIEDDATE            eDoc    Last modified date

   EMAILTHREADID               eMail   Unique identification number that permits threading
                                       of email conversations. For instance, unique MS
                                       Outlook identification number
                                       (“PR_CONVERSATION_INDEX”) is 22 bytes in
                                       length, followed by zero or more child blocks each 5
                                       bytes in length that facilitate email threading.
   EMAILTHREADINDEX            eMail   Message header identifier, distinct from
                                       “PR_CONVERSATION_INDEX”, that permits
                                       threading of email chains in review software.




                                        27
Case: 4:21-md-02993-SEP Doc. #: 156 Filed: 12/10/21 Page: 28 of 28 PageID #: 1322




                                 CERTIFICATE OF SERVICE

        I hereby certify that on December 10, 2021, the foregoing was filed electronically with

 the Clerk of Court to be served by operation of the Court’s electronic filing system to all counsel

 of record.


                                                               /s/ Michelle J. Looby
